Case 2:20-cv-02291-DOC-KES Document 100 Filed 05/07/20 Page 1 of 1 Page ID #:1306




                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

                          CIVIL MINUTES – GENERAL

   Case No. LA CV 20-02291-DOC (KESx)                             Date: May 7, 2020


   Title: LA Alliance for Human Rights et al v. City of Los Angeles et al.



  PRESENT:      THE HONORABLE DAVID O. CARTER, JUDGE

                 Not Present                             Austin Che
                 Courtroom                               Court Recorder
                   Clerk




        PROCEEDINGS: Settlement Conference (Held)
        Settlement Conference held before Judge David O. Carter at the Alexandria
  Ballrooms, 501 S. Spring Street, Los Angeles, California.




                                                                     3 : 23

   MINUTES FORM 11                                         Initials of Deputy Clerk:
   CIVIL-GEN                                               kd
